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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                        Plaintiff,                )
                                                  )
       v.                                         )    C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                        Defendant.                )


                     DEFENDANT’S RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for

Tesla, Inc. (“Tesla”) submits the following Corporate Disclosure Statement:

       Tesla states that it has no parent corporation and no publicly traded company holds 10% or

more of its stock.

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January 13, 2023




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on January 13,

2023, upon the following in the manner indicated:

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